             Case 1:24-mc-91041-AK Document 18 Filed 02/22/24 Page 1 of 4




                           UNITED STATES DISTRICT COURT

                            DISTRICT OF MASSACHUSETTS


MOHAMMAD BOZORGI, et al., Individually ) No. 1:24-mc-91041
and on Behalf of All Others Similarly Situated, )
                                                ) CLASS ACTION
                             Plaintiff,         )
                                                ) NOTICE OF APPEARANCE
       vs.                                      )
                                                )
CASSAVA SCIENCES, INC., et al.,                 )
                                                )
                             Defendants.
                                                )
                                                )




4885-3895-4663.v1
             Case 1:24-mc-91041-AK Document 18 Filed 02/22/24 Page 2 of 4




          Please enter the appearance of Rachel L. Jensen on behalf of Lead Plaintiff Mohammad

Bozorgi and additional plaintiffs Ken Calderone and Manohar K. Rao in the above-referenced

matter.

DATED: February 22, 2024                      ROBBINS GELLER RUDMAN
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                                              RACHEL JENSEN
                                              KEVIN A. LAVELLE
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                                              -1-
4885-3895-4663.v1
             Case 1:24-mc-91041-AK Document 18 Filed 02/22/24 Page 3 of 4




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                                         -2-
4885-3895-4663.v1
             Case 1:24-mc-91041-AK Document 18 Filed 02/22/24 Page 4 of 4




                                  CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on February 22, 2024, I filed the foregoing

document electronically, that the foregoing document will be served electronically to registered

CM/ECF participants via the NEF, and that I will send paper copies to non-registered participants as

indicated on the NEF.

                                                   s/ Rachel L. Jensen
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4885-3895-4663.v1
